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                        EXHIBIT 37
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                                                                             EXHIBIT 37


 1

 2
                     IN THE CIRCUIT COURT OF THE STATE OF OREGON
 3
                                 FOR THE COUNTY OF JACKSON
 4

 5   In the Matter of:

 6   HEIDI MARIE BROWN,                                 Case No. 23CN05721.

 7                         Petitioner,                  MOTION FOR SPECIAL
                                                        APPEARANCE WITHOUT WAIVING
            and                                         OBJECTION TO SERVICE AND
 8
     ARNAUD PARIS,                                      JURISDICTION TO ASK FOR
 9                                                      DISQUALIFICATION OF JUDGE
                                                        BLOOM AND SUPPORTING
10                         Respondent, Pro Per.         AFFIDAVIT

11                                                      ORAL ARGUMENT REQUESTED
                                                        WITH REMOTE APPEARANCE OF
12                                                      RESPONDENT WHO IS A PRO PER
                                                        PARTY LIVING IN FRANCE
13

14
            I, Arnaud Paris, Respondent, Pro Per, in the above-captioned case, moves this
15
     court under a motion for special appearance without waiving my right to objecting to
16
     jurisdiction or service in this matter to ask for an order for the disqualification of Judge
17
     Bloom in this matter as the Medford District Attorney Beth Heckert recently raised
18
     concern about Judge Bloom and Judge Orr judicial misconduct and lack of impartiality
19
     in the Jackson County proceedings.
20
            Judge Bloom has also previously shown judicial bias against Respondent in the
21
     related case 22DR17285 by denying himself his own disqualification in "questionable"
22
     ways. See attached Exhibit 01, Letter from Counsel who represented Respondent at
23

24



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 1   the disqualification hearing. In this letter Christopher Eggert says: "I am concerned that

 2   some form of investigation by appropriate authorities is warranted to attempt to

 3   determine whether the rights of Mr. Paris and his children are being upheld by the

 4   Oregon courts."

 5   STATEMENT AND POINTS OF AUTHORITIES:

 6          ORS 14.250 states that:

 7   "No judge of a circuit court shall sit to hear or try any suit, action, matter or proceeding

 8   when it is established, as provided in ORS 14. 250 (Disqualification of ;udqe) to 14. 270

 9   (Time of making motion for change of ;udqe in certain circumstances). that any party or

10   attorney believes that such party or attorney cannot have a fair and impartial trial or

11   hearing before such judge. In such case the presiding judge for the judicial district shall

12   forthwith transfer the cause, matter or proceeding to another judge of the court, or apply

13   to the Chief Justice of the Supreme Court to send a judge to try it; or, if the convenience

14   of witnesses or the ends of justice will not be interfered with by such course, and the

15   action or suit is of such a character that a change of venue thereof may be ordered, the

16   presiding judge may send the case for trial to the most convenient court; except that the

17   issues in such cause may, upon the written stipulation of the attorneys in the cause

18   agreeing thereto, be made up in the district of the judge to whom the cause has been

19   assigned. [1955 c.408 §1(1); 1981 c.215 §5; 1987 c.338 §1; 1995 c.781 §28]"

20          ORS 14.260 states that:

21   "Any party to or any attorney appearing in any cause, matter or proceeding in a circuit

22   court may establish the belief described in ORS 14.250 (Disqualification of ;udqe) by

23   motion supported by affidavit that the party or attorney believes that the party or
                                                   2
24


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 1   attorney cannot have a fair and impartial trial or hearing before the judge, and that it is

 2   made in good faith and not for the purpose of delay. No specific grounds for the belief

 3   need be alleged. The motion shall be allowed unless the judge moved against, or the

 4   presiding judge for the judicial district, challenges the good faith of the affiant and sets

 5   forth the basis of the challenge. In the event of a challenge, a hearing shall be held

 6   before a disinterested judge. The burden of proof is on the challenging judge to

 7   establish that the motion was made in bad faith or for the purposes of delay."

 8          ORS 14.270 states that:

 9   "An affidavit and motion for change of judge to hear the motions and demurrers or to try

1O the case shall be made at the time of the assignment of the case to a judge for trial or

11   for hearing upon a motion or demurrer."

12

13   DECLARATION AND AFFIDAVIT FROM RESPONDENT:

14          On May 28th 2024, I, Arnaud Paris, Respondent, Pro Per, was remotely

15   attending a hearing for disqualification of Judge Bloom in the related case 22DR17285

16   and his explanation for denying the disqualification seemed to be in contravention with

17   the ORS Statutes hereabove cited as my lawyer firmly noted.

18          Judge Bloom has just been assigned as a new judge to this case 23CN05721

19   and in light of the evidence presented in this motion I have clear ground to believe that I

20   won't be given a "fair and impartial trial or hearing" in this matter.

21          The decision by Judge Bloom to deny the motion for his disqualification on May

22   28th without substantive justification not only contravenes ORS 14.250 but also sets a

23   concerning precedent for the disregard of legal standards and procedural fairness.
                                                    3
24


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 1          After having felt that both Judge Orr and Judge Bloom were showing judicial bias

 2   and were prejudiced against me in the Jackson County proceedings I find concerning

•3   that the Medford District Attorney, Beth Heckert, has been expressing the same

 4   concerns regarding both of these judges' lack of impartiality and judicial misconduct

 5   over the years. See attached Exhibit 02, article from the Rogue Valley Times on April

 6   27th, 2024. I don't feel that I will have a fair trial with Judge Bloom in this matter and I

 7   would like to disqualify Judge Bloom under ORS 14.250 and ORS 14.260 for all the

 8   reasons stated above.

 9

10   CONCLUSIONS AND PRAYERS FOR RELIEF:

11          For all these reasons Father, Respondent Pro Per, believes that the

12   disqualification of Judge Bloom is necessary and required in this matter since Father

13   cannot have a fair and impartial trial under ORS 14.250 and ORS 14.260. Therefore,

14   Father asks that the "presiding judge for the judicial district shall forthwith transfer the

15   cause, matter or proceeding to another judge of the court, or apply to the Chief Justice

16   of the Supreme Court to send a judge to try it." (ORS 14.250). Since Judge Bloom is the

17   Presiding Judge then the court should apply to the Chief Justice of the Supreme Court

18   to send a judge to try it.

19          By filing with the court this motion of special appearance and supporting

20   declaration I do not waive my right to objecting to jurisdiction or service in this matter. I

21   hereby declare that the above statement is true to the best of my knowledge and belief,

22   and that I understand it is made for use as evidence in court and is subject to penalty fo

23   perjury of the laws in the state of Oregon.
                                                    4
24



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 1        Prepared and filed by efile from Paris, France on June 6th 2024



:By:fi~
 4   ARNAUD PARIS, Respondent, Pro Per
     13 rue Ferdinand Duval,
 5   75004, PARIS, FRANCE
     Telephone: +33688283641
 6   Email: aparis@sysmicfilms.com

 7

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                                                5
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                                     CERTIFICATE OF SERVICE
 2
        I hereby certify that I served the foregoing MOTION FOR SPECIAL APPEARANCE
 3      WITHOUT WAIVING OBJECTION TO SERVICE AND JURISDICTION TO ASK FOR
        DISQUALIFICATION OF JUDGE BLOOM AND SUPPORTING AFFIDAVIT
 4      on the following party:

                                             Heidi Marie Brown
 5
                                              2256 Abbott Ave
                                            Ashland, OR 97520
 6
                                          heidimoaris@gmail.com
                                             Petitioner, Pro Per
 7
     By the following method or methods:
 8
            by mailing full, true, and correct copies thereof in sealed, first class postage
 9   prepaid envelopes, addressed to the attorneys(s) as shown above, the last known office addre s of
     the attorney(s), and deposited with the United States Postal Service at Portland, Oregon on the date
1o   set forth below.

     X    by emailing full, true, and correct copies thereof to the to the pro se party at the email ad
11   shown above, which is the last known email address for the Petitioner on the date set forth bel

12        by faxing full, true, and correct copies thereof to the attorney(s) at the fax number(s)
     shown above, which is the last known fax number for the attorney(s) office, on the date set fort
13   below. The receiving fax machines were operating at the time of service and the transmission
     properly completed.
14
            by selecting the individual(s) listed above as a service contact when preparing this electr nic
     filing submission, thus causing the individual(s) to be served by means of the court's electroni filing
15   system.

16   Prepared in Paris, France on June 6 th , 2024




        ~~
17

18

19   By:_
     ARNAUD PARIS, Respondent Pro Per
20   13 rue Ferdinand Duval, 75004, PARIS, FRANCE
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21

22

23
                                                     6
24


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